










Opinion issued November 6, 2008











In The
Court of Appeals
For The
First District of Texas




NO. 01–08–00006–CV




STEPHANIE A. LEWIS, Appellant

V.

RESURGENCE FINANCIAL, L.L.C., Appellee




On Appeal from the County Civil Court at Law No. 4
Harris County, Texas
Trial Court Cause No. 885125




MEMORANDUM OPINIONAppellant Stephanie A. Lewis has failed to timely file a brief.  See Tex. R. App.
P. 38.8(a) (failure of appellant to file brief).  After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.  See Tex. R. App. P.
42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Justices Taft, Keyes, and Alcala.


